Case
  Case
     No.1:22-cv-02224-KLM
          1:20-cv-00742-DDD-KAS
                           Document
                                Document
                                    13 Filed
                                           337-3
                                             09/09/22
                                                 filed 12/09/22
                                                        USDC Colorado
                                                                USDC Colorado
                                                                      Page 1 ofpg
                                                                                3 1
                                       of 4




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


  Civil Action No: 1:22-CV-02224-KLM

  Thomas D. Seaman, Individually
  James Corey Goode, Individually

  Plaintiffs,

  v.

  Alyssa Chrystie Montalbano, Individually

  Defendant



                        DEFENDANT ALYSSA MONTALBANO
                                JURY DEMAND


          COMES NOW, Defendant, Alyssa Chrystie Montalbano and files this demand for

  Trial by Jury pursuant U.S. Constitution, Bill of Rights, Article VII;

  Colorado Constitution, Bill of Rights, Sections 6, 10, 23 and 25; FRCP 38; and

  28 USC 1331, and states as follows:


       1. Montalbano claims her Right to trial by Jury on matters exceeding twenty dollars.

          $116,600 exceeds twenty dollars. (U.S. Const., Bill of Rights, Art. VII)


       2. Montalbano claims her Right to trial by jury for defamation.

          (Colo. Const., Bill of Rights, Section 10)


                                            Page 1 of 3
Case
  Case
     No.1:22-cv-02224-KLM
          1:20-cv-00742-DDD-KAS
                           Document
                                Document
                                    13 Filed
                                           337-3
                                             09/09/22
                                                 filed 12/09/22
                                                        USDC Colorado
                                                                USDC Colorado
                                                                      Page 2 ofpg
                                                                                3 2
                                       of 4




     3. Montalbano claims her Right to trial by Jury in civil cases.

        (Colo. Const., Bill of Rights, Section 23)


     4. Montalbano claims her Right to protect her writings and discoveries.

        (U.S. Const. Article I, Sec. 8., Cl 8) and whereby the amount in controversy

        exceeds twenty dollars ($70,000+).


     5. Montalbano claims her Right to Due Process of Law.

        (Colo. Const., Bill of Rights, Section 25)


     6. Montalbano claims her Right to Equality of Justice.

        (Colo. Const., Bill of Rights, Sec. 6)


     7. Montalbano demanded Trial by Jury in case 18CV50 and Mr. Brian James Flynn

        unlawfully took away this Right [#1-2 Deprivation Rights] in his Kangaroo Court

        ran inside Mesa District Civil Court and he knowingly corrupted the Judicial

        Machinery. (Exhibit 1 – Jury Demand filed case 18CV50, June 10, 2019)



        WHEREFORE, Montalbano demands Trial by Jury for Defamation; to protect

  her writings and discoveries; and for the fraud judgment amount of $116,600 maliciously

  and unlawfully entered by Brian James Flynn via his Kangaroo Court, case 18CV50.




                                          Page 2 of 3
Case
  Case
     No.1:22-cv-02224-KLM
          1:20-cv-00742-DDD-KAS
                           Document
                                Document
                                    13 Filed
                                           337-3
                                             09/09/22
                                                 filed 12/09/22
                                                        USDC Colorado
                                                                USDC Colorado
                                                                      Page 3 ofpg
                                                                                3 3
                                       of 4




  Dated this 9th Day of September 2022                    Respectfully Submitted and All

                                                          Rights Reserved,

                                                          /s/ Alyssa Chrystie Montalbano

                                                          American Citizen, Defendant

                                                          970.250.8365
                                                          2536 Rimrock Ave
                                                          Suite 400-117
                                                          Grand Junction, CO 81505
                                                          E-mail: LegalZenACM@gmail.com



                                   CERTIFICATE OF SERVICE

  I certify that on this 9th day of September 2022 a true copy of the foregoing Jury Demand was
  filed via the CM/ECF filing system and the same delivered by paper mail upon the following pro
  se party:


  Mr. Thomas D. Seaman
  dba ALPINE JUDGMENT RECOVERY
  PO Box 1002
  Ridgway, CO 81432
  USPS Certified Mail 7021 0950 0001 5240 1661

  And upon Mr. James Corey Goode via his Counsel via the CM/ECF system:

  Valerie Yanaros
  Yanaros Law, P.C.
  8300 Douglas Avenue Suite 800
  Dallas, Texas 75225
  Telephone: (512) 826-7553
  valerie@yanaroslaw.co


  /s/ Alyssa Montalbano

  Alyssa Montalbano, American Citizen




                                            Page 3 of 3
Case
 CaseNo.
      1:22-cv-02224-KLM
         1:20-cv-00742-DDD-KAS
                         Document
                               Document
                                  13-1 Filed
                                          337-3
                                             09/09/22
                                                 filed 12/09/22
                                                         USDC Colorado
                                                                USDC Colorado
                                                                       Page 1 ofpg1 4
                                      of 4
